               Case 2:20-cr-00112-RSM Document 28 Filed 09/16/20 Page 1 of 2




 1                                                          CHIEF JUDGE RICARDO S. MARTINEZ
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 5
                               UNITED STATES DISTRICT COURT
 6
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8
     UNITED STATES OF AMERICA,                              )   No. CR20-112-RSM
 9                                                          )
                     Plaintiff,                             )
10                                                          )   ORDER GRANTING
                v.                                          )   MOTION TO CONTINUE TRIAL
11                                                          )   AND PRETRIAL MOTIONS DATES
     PRENTICE C. HOLLINGSWORTH,                             )
12                                                          )
                     Defendant.                             )
13                                                          )
14          THE COURT has considered Prentice Hollingsworth’s unopposed motion to

15   continue the trial date and pretrial motions deadline and finds that:

16          (a) taking into account the exercise of due diligence, a failure to grant a

17   continuance in this case would deny counsel for the defendant the reasonable time

18   necessary for effective preparation due to counsel’s need for more time to review the

19   evidence, consider possible defenses, and gather evidence material to the defense, as set

20   forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and

21          (b) a failure to grant such a continuance in this proceeding would likely result in

22   a miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and

23          (c) the additional time requested is a reasonable period of delay, as the defendant

24   has requested more time to prepare for trial, to investigate the matter, to gather evidence

25   material to the defense, and to consider possible defenses; and

26

                                                                           FEDERAL PUBLIC DEFENDER
       ORDER TO CONTINUE TRIAL                                                1601 Fifth Avenue, Suite 700
       AND PRETRIAL MOTIONS DATES                                               Seattle, Washington 98101
       (United States v. Hollingsworth, CR20-112-RSM) - 1                                  (206) 553-1100
               Case 2:20-cr-00112-RSM Document 28 Filed 09/16/20 Page 2 of 2




 1          (d) the ends of justice will best be served by a continuance, and the ends of
 2   justice outweigh the best interests of the public and the defendant in any speedier trial,
 3   as set forth in 18 U.S.C. § 3161(h)(7)(A); and
 4          (e) the additional time requested between the current trial date of October 13,
 5   2020, and the new trial date is necessary to provide counsel for the defendant the
 6   reasonable time necessary to prepare for trial, considering counsel’s schedule and all of
 7   the facts set forth above; and
 8          (f) the period of delay from the date of this order to the new trial date is
 9   excludable time pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (h)(7)(B)(iv).
10          IT IS THEREFORE ORDERED that the trial date in this matter shall be
11   continued to March 15, 2021, and that pretrial motions shall be filed no later than
12   February 11, 2021.
13          DONE this 16th day of September 2020.
14
15                                                    A
                                                      RICARDO S. MARTINEZ
16                                                    CHIEF UNITED STATES DISTRICT
                                                      JUDGE
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18
     Presented by:
19
     s/ Corey Endo
20
     Assistant Federal Public Defender
21   Attorney for Prentice Hollingsworth

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                                                                     FEDERAL PUBLIC DEFENDER
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